Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 1 of 7 PageID #: 1




                                                       ELECTRONICALLY
                                                           FILED
                                                         Jan 05 2017
                                                     U.S. DISTRICT COURT
                                                     Northern District of WV




                                                    1:17-cv-3 (Keeley)
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 2 of 7 PageID #: 2




         2.       At all relevant times, Defendant Lone Star Western Beef, Inc. was a West

 Virginia corporation with a place of business located at 46 Meadowdale Road, Fairmont,

 West Virginia 26554.

        3.        At all relevant times, Defendant John M. Bachman was the President,

 owner, and operator of Lone Star Western Beef, Inc. and resided at least part-time in

 West Virginia.

                                   Jurisdiction and Venue

        4.        Venue with respect to this action lies in the Northern District of West

 Virginia because Defendant Lone Star Western Beef, Inc. operated a production facility

 in Fairmont, WV and all events giving rise to this action occurred in Marion County,

 West Virginia. 28 U.S.C. § 1391.

        5.        At all relevant times, Lone Star Western Beef, Inc. was a "person" within

 the meaning of Sections 3(4) and l l(c)(l) of the Act, 29 U.S.C. §§ 652(4) and 660(c)(l),

 because it was a corporation.

        6.        At all relevant times, Lone Star Western Beef, Inc. was an "employer"

 within the meaning of Section 3(5) of the Act, 29 U.S.C. § 652(5), because it was a

 person engaged in a business affecting trade, traffic, commerce, transportation, or

 communication between the State of West Virginia and states outside of West Virginia

 who had employees.

        7.        At all relevant times, John M. Bachn1an was a "person" within the

 meaning of Sections 3(4) and ll(c)(l) of the Act, 29 U.S.C. §§ 652(4) and 660(c)(I),

 because he is an individual.




                                              2
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 3 of 7 PageID #: 3




         8.      At all relevant times prior to being terminated, Michele Butler-Savage was

 an "employee" within the meaning of Sections 3(6) and 1 l(c)(l) of the Act, 29 U.S.C. §§

 652(6) and 660(c)(l), because she was employed by Lone Star Western Beef, Inc.

                                       General Allegations

         9.      At all times relevant hereto, Defendants operated a facility in Fairmont,

 West Virginia ("facility" or "plant"). The facility manufactured beef jerky.

         10.     At all times relevant hereto, there were approximately twelve employees

 working at the facility.

         11.     On or about March 18, 2014, Defendants hired Michele Butler-Savage

 ("Butler-Savage") as a food processor at the facility. Butler-Savage's duties included

 stringing, sorting, and packaging beef jerky.

         12.     On July 7, 2014, Butler-Savage staited her shift at approximately 7:00

 a.m. At approximately 7:20 a.m., Butler-Savage heard coworker Chris Crane ("Crane")

 exclaim that he had cut his finger.

         13.     Butler-Savage saw blood running down Crane's hand and arm, and

 believed that he sustained a serious injury. Butler-Savage went to assist Crane while

 another worker went to get John M. Baclunan ("Bachman"). Butler-Savage put Crane's

 hand under cold water and tried to slow the bleeding with paper towels.

        14.      Butler-Savage told Crane that she needed to call 911. Butler-Savage used

 her personal cell phone to dial 911.        At some point before the call went through,

 Bachman arrived. Bachman told Butler-Savage not to call 911 and instructed her to hang

 up the phone.




                                               3
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 4 of 7 PageID #: 4




         15.     Butler-Savage told Bachman that Crane needed an ambulance. Bachman

 responded that he would decide whether to call an ambulance and instructed Butler-

 Savage to get back to work.

         16.     At the time he cut his finger, Crane was operating a band saw to cut beef

 as part of the manufacturing process. The blade of the band saw had severed a piece of

 Crane's right thumb.

         17.     After instructing Butler-Savage to hang up the phone, Bachman collected

 the severed piece of Crane's thumb and had supervisor Kay Davis ("Davis") drive Crane

 to Whitehall Medical, an urgent care clinic.

         18.     Whitehall Medical transferred Crane to a hospital emergency room in an

 ambulance. The emergency room was ultimately unable to reattach the severed portion

 of Crane's thumb.

         19.     Butler-Savage observed that Bachman did little to clean or sanitize the

 areas where Crane's blood had spurted aJl over the floor and wall in his work area and on

 the floor and sink in the processing area. Bachman discarded only the piece of meat

 Crane was cutting when he was injured, and did not discard other meat present in the area

 where Crane bled. The areas where Crane bled were not sanitized until production was

 finished for the day.

        20.     At approximately 3:00 p.m. on July 7, 2014, Butler-Savage discussed her

 concerns about the accident, the cleanup, and tbe lack of appropriate personal protective

 equipment with a United States Depa1tment of Agriculture inspector. Butler-Savage also

 told the inspector that she had tried to call 911.




                                                4
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 5 of 7 PageID #: 5




         21.     On July 9, 20 14, Bachman fired Butler-Savage. Bachman initially told

 Butler-Savage that productfon was slow, but further complained that he had lawsuits

 pending against him, that there were too many government rules to follow, and that the

 government always had its hand in his business.

         22.     Bachman alone made the decision to terminate Butler-Savage.

         23.     Bachman terminated Butler-Savage in retaliation for engaging in activities

 that are protected under the Act.

         24.     On July 10, 2014, Butler-Savage filed a timely complaint with the

 Occupatjonal Safety and Health Administration alleging that Defendants discriminated

 against Butler-Savage in violation of Section 1l(c)(l) of the Act, 29 U.S.C. § 660(c)(l),

 by terminating her for engaging in protected activity.

         25.     On July 18, 2014, Defendants received notice that Butler-Savage had filed

 a Section l l (c) complaint.

         26.    The Secretary thereafter investigated said complaint in accordance with

 Section l l(c)(2) of the Act, 29 U.S.C. § 660(c)(2), and determined that Defendants bad

 violated Section 11(c) of the Act by terminating Butler-Savage.

                                     Violations of the Act

        27.     The Secretary incorporates by reference paragraphs 1 through 26 of thls

 Complaint as if fully set forth herein.

        28.     The activities described in paragraphs 13-15 and 19-20 represent the

 exercise of rights afforded by the Act, and constitute activities that are protected by the

 Act.




                                              5
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 6 of 7 PageID #: 6




         29.     Defendants terminated Butler-Savage because she exercised rights and

 engaged in activities protected by the Act, in violation of Section 11 (c)( 1) of the Act, 29

 U.S.C. § 660(c)(l).

         30.     To date, Defendants have failed to compensate Butler-Savage for wages

 Jost as a result of her improper termination, in continuing violation of Section 11 (c)(l) of

 the Act, 29 U.S.C. § 660(c)(l).

                                          Relief Sought

         WHEREFORE, cause having been shown, the Secretary requests a trial by jury,

 and further prays for judgment:

         a.      Permanently enjoining and restraining Defendants, their officers, agents,

 servants, employees and those persons in active concert or participation with them, from

 violating the provisions of Section 11 ( c) of the Act;

         b.      Ordering Defendants to pay damages to Butler-Savage for lost wages that

 resulted from her termination, and prejudgment and post-judgment interest thereon, as

 authorized by Section l l(c) of the Act;

         c.      Ordering Defendants to post in a conspicuous place in the facility for a

 period of not less than sixty days a copy of the decree entered in this case and a notice

 that Defendants will not discriminate against any employee for engaging in activities

 protected by Section 11(c) of the Act;

         d.      Ordering Defendants to compensate the Secretary for all costs incurred in

 this litigation; and




                                                6
Case 1:17-cv-00003-IMK Document 1 Filed 01/05/17 Page 7 of 7 PageID #: 7




        e.      Ordering all other appropriate relief including punitive damages,

 emotional distress, pain and suffering, other expenses incurred by Butler-Savage as a

 result of being terminated by Defendants.



                                         Respectfully submjtted,

 M. Patricia Smith                           Betsy Steinfeld Jividen,
 Solicitor of Labor                          Acting United States Attorney

 Oscar L. Hampton III                        [s/ I lelen Campbell J\llmcvcr
 Regional Solicitor                          Assistant United States Attorney
                                             WV Bar # 117
        tuJA."1
0  <n
   )rdana L. G~cnwald
   ttorncy
                        /tLl(JL              U.S. Attorney's Office
                                             P.O. Box 591
                                             Wheeling, WV 26003
 U.S. Department of Labor                    PHONE: 304-234-0 l 00
 170 S. Independence Mall West               EMAIL: Helen.Altmeyer@usdoj.gov
 The Curtis Center - Suite 630 East
 Philadelphia, PA 19106                      UNITED STATES ATTORNEY FOR THE
 (215) 861-5129                              NORTHERN DISTRICT OF WEST
 greenwald. jordana@dol.gov                  VIRGINIA
                                             Attorneys for Plaintiff
 U.S. DEPARTMENT OF LABOR
 Attorneys for Plaintiff




                                             7
